UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
CHARLESTON DIVISION

Jay Connor,
CIA No: 2:24-cv-6310-MGB-JD
Plaintiff,
Vs.
David Wishnia and John Does 1-10

Defendants.

DECLARATION OF JAY CONNOR
I, Jay Connor, duly declare pursuant to 28 U.S.C. § 1746 as follows:
1, I make this declaration in support of Plaintiff's Motion for Default J udgment Against
Defendant Wishnia (“Defendant”).
2. Tam over 18 years of age, and I am competent to testify and make this affidavit on
personal knowledge.
3, I have personal knowledge of the facts set forth in this declaration and could testify
competently to them if cailed upon to do so.
4, I am the Plaintiff in the above-captioned lawsuit.
5. I paid $165.00 in service fees for David Wishnia.
6. Talso paid the $405 filing fee for this action to the Clerk of Court.
7. At all times relevant to this lawsuit, I was the sole and customary user of a cellular
telephone with number (843) 718-8180,
8. At all times relevant to this lawsuit, I used my cellular telephone with number (843) 718-

8180 for residential purposes.
9, For example, I primarily use/used my cellular telephone with number (843) 718-8180 to
communicate with friends.

10. I registered my cellular telephone number (843) 718-8180 on the National Do Not Call
Registry in 2021.

li. Attached as Exhibit A to this Declaration is an email confirmation that my telephone
number is registered on the National Do Not Call Registry.

12. Prior to October 14, 2024, at no time did I ever provide prior express written consent (or
any consent) to Defendants to call my cellular telephone for any purpose.

13. At no time before or after receiving the phone calls at issue in this action did I ever
transact business with the Defendants.

14, Despite my phone number being registered on the National Do-Not-Call Regisiry and not
providing express written consent to be contacted on my cellular telephone, as detailed below, I
received unwanted telephone solicitations via text messages from Defendants.

15, In total, I received two unwanted calls from Defendants on October 14, 2024,

16. In anticipation of the attached Motion for Default Judgment, I have reviewed my
telephone billing records for the number. I have identified two text messages from the
Defendants. Attached as Exhibit B are screenshots from my cellular telephone bill showing the
incoming text messages | received from Defendants.

17. On October 18, 2024, Defendant Wishnia, a self-described independent consultant, called
me to follow up on the text messages and attempted to sell me residential solar panels,

18. I found the text messages to be irritating, annoying and disruptive, particularly as my
number was registered on the National Do-Not-Call Registry.

19. IT brought this case under the Telephone Consumer Protection Act (“TCPA”) and the

South Carolina Telephone Privacy Protection Act (“SCTPPA”). For the TCPA damages, I am
seeking $1,500.00 for each call that was made in violation of Section 227(c) of the TCPA if
determined to be willful. For the SCTPPA damages, I am seeking $10,000 for each call that was
made in violation of Section 37-21-40(A) and 37-21-70(B). In my opinion, these violations were
willful as my number had been registered on the National Do-Not-Call Registry before I received
the anonymous calls, and I never provided any form of consent to receive calls from Defendant.
Furthermore, the identifying information associated with the text messages included the alias
first name of an individual and an alias name of a solar company, not Mr. Wishnia or a company
with which he is affiliated. The true name of the party associated with the solicitations, Wishnia,
was not revealed until a follow up call attempting to set up an appointment.

20. [seek $11,500 in state and federal damages for each and every text message I received.
21. Thus, the total damages I request to be awarded is $23,000 plus court costs and service
fees of $570.00 totaling $23,570.00

22. I declare under penalty of perjury, under the laws of the United States of America, that

the foregoing is true and correct,

Executed this 18" day of March, 2025.

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